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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    NOA E. OREN, #297100
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700/Facsimile: (916) 498-5710
5    Noa_Oren@fd.org
6    Attorney for Defendant
     CHRISTOPHER GRADY
7
8                                IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                        )   Case No. 15-cr-204 GEB
11                                                    )
                    Plaintiff,                        )
12                                                    )   STIPULATION TO CONTINUE STATUS
           v.                                         )   CONFERENCE AND TO EXCLUDE TIME
13                                                    )
     CHRISTOPHER GRADY et al,                         )   Date: December 4, 2015
14                                                    )   Time: 9:00 a.m.
                    Defendant.                        )   Judge: Garland E. Burrell
15                                                    )
16
             IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S. Attorney,
17
     through Matthew Morris, Assistant United States Attorney, attorney for Plaintiff, Gregory
18
     Foster, attorney for Jeffrey S. Grady, William E. Bonham, attorney for Jacob W. Cook, and
19
     Heather Williams, Federal Defender, through Assistant Federal Defender, Noa E. Oren, attorney
20
     for Christopher Grady, that the status conference scheduled for December 4, 2015 be vacated and
21
     continued to January 8, 2016 at 9:00 a.m. Defendant Tosh Babu has not yet been arraigned or
22
     appointed an attorney.
23
             The reasons for the continuance are to review additional discovery with client and to
24
     continuing investigating the facts of the case.
25
             Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
26
     excluded of this order’s date through and including January 8, 2016; pursuant to 18 U.S.C.
27
28

     [[Stipulation and [PROPOSED] Order to Continue       -1-                      US v. Grady, 15-cr-204 GEB
       Case 2:15-cr-00204-TLN Document 24 Filed 12/02/15 Page 2 of 3


1    §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
2    based upon continuity of counsel and defense preparation.
3            Counsel and the defendant also agree that the ends of justice served by the Court granting
4    this continuance outweigh the best interests of the public and the defendant in a speedy trial.
5
6    DATED: December 2, 2015                          HEATHER E. WILLIAMS
                                                      Federal Defender
7
                                                      /s/ Noa E. Oren
8                                                     NOA E. OREN
9                                                     Assistant Federal Defender
                                                      Attorney for Defendant
10                                                    CHRISTOPHER GRADY

11   DATED: December 2, 2015                          /s/ Gregory W. Foster
                                                      GREGORY W. FOSTER
12
                                                      Attorney for Jeffrey S. Grady
13
     DATED: December 2, 2015                          /s/ William E. Bonham
14                                                    WILLIAM E. BONHAM
                                                      Attorney for Jacob W. Cook
15
16   DATED: December 2, 2015                          BENJAMIN B. WAGNER
                                                      United States Attorney
17
                                                      /s/ Matthew Morris
18                                                    MATTHEW MORRIS
                                                      Assistant U.S. Attorney
19                                                    Attorney for Plaintiff
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     [[Stipulation and [PROPOSED] Order to Continue     -2-                        US v. Grady, 15-cr-204 GEB
       Case 2:15-cr-00204-TLN Document 24 Filed 12/02/15 Page 3 of 3


1                                                     ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8            The Court orders the time from the date the parties stipulated, up to and including
9    January 8, 2016 shall be excluded from computation of time within which the trial of this case
10   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered the December 4, 2015 status conference shall be continued until January 8,
13   2016 at 9:00 a.m.
14   Dated: December 2, 2015
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     [[Stipulation and [PROPOSED] Order to Continue    -3-                      US v. Grady, 15-cr-204 GEB
